                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                  CRIMINAL DOCKET NO. 5:13-CR-00050-RLV-DSC


UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )                     ORDER
v.                                              )
                                                )
RICKY ALLEN LATHAM,                             )
                                                )
                 Defendant.                     )



       THIS MATTER came before the Court at Defendant’s Rule 11 hearing on August 30,

2013. Defendant appeared with appointed counsel Aaron Michel. At the outset of the hearing,

Defendant asked to submit a handwritten letter to the Court. The Court reviewed the letter which

contained Defendant’s complaints about Mr. Michel.            Defendant wrote that he did not

understand the plea offers in his case and that Mr. Michel had not answered his questions

adequately. Defendant also complained about Mr. Michel’s treatment of him and his mother.

Mr. Michel disputed Defendant’s statements and stated that he could provide adequate

representation. The Government expressed reservations about proceeding with the Rule 11

hearing. The Court finds that there has a been a significant breakdown in the attorney-client

relationship here and that new counsel should be appointed.


       The Court also clarified the attorney-client relationship and explained to Defendant that

there are certain decisions that must be made by him such as whether or not to accept a plea

agreement or go to trial.




     Case 5:13-cr-00050-FDW-DSC           Document 49         Filed 08/30/13   Page 1 of 2
       Based upon the foregoing, the Court relieves Mr. Michel from further representation of

the Defendant and directs the Federal Defender to appoint new counsel. The Clerk is directed to

send copies of this Order to counsel for the parties and to the Honorable Richard L. Voorhees.


       SO ORDERED.


                                              Signed: August 30, 2013




    Case 5:13-cr-00050-FDW-DSC            Document 49          Filed 08/30/13   Page 2 of 2
